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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF DELAWARE

In re:                        )
                              )
TERRAVION, INC.,              )                     Chapter 11
                              )
                              )                     Case No. 20-12058-JTD
       Debtor                 )
______________________________)
                              )
In re:                        )
                              )
IMAGERY COLLECTION, LLC )                           Chapter 11
                              )
                              )                     Case No. 20-12063-JTD
       Debtor                 )
______________________________)
                              )
In re:                        )
                              )
FARM MEASUREMENT, LLC )                             Chapter 11
                              )
                              )                     Case No. 20-12064-JTD
       Debtor                 )
______________________________)



           MOTION OF DEBTORS FOR JOINT ADMINISTRATION OF CASES

         TerrAvion, Inc., (“TerrAvion”), Imagery Collection, LLC (“Imagery Collection”), and

Farm Measurement, LLC (“Farm Measurement”), the debtors and debtors-in-possession (the

“Debtors” or a “Debtor”) in the above-captioned cases (the “Cases” or a “Case”) by their

proposed counsel, Dunlap Bennett & Ludwig PLLC, state as follows in support of this motion

(the “Motion”):
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1. The Debtors request entry of an order in the form attached as Exhibit A (the “Order”)

   directing that these Cases be jointly administered in accordance with Bankr. R. 1015 and

   Del. Bankr. L.R. 1015-1.

2. This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157(b) and

   1334, and this is a core proceeding pursuant to 11 U.S.C. § 157(b) and may be

   determined by this Court. Venue is proper before this Court pursuant to 28 U.S.C. §§

   1408 and 1409. The Debtors consent to the entry of a final order or judgment by this

   Court.

3. The Debtors filed voluntary Chapter 11 bankruptcy petitions in this Court on August 31,

   2020 (TerrAvion), and September 2, 2020 (Imagery Collection and Farm Measurement).

4. Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or more petitions

   are pending in the same court by or against . . . a debtor and an affiliate, the court may

   order a joint administration of the estates.” The Debtors in these Cases are all “affiliates”

   as that term is defined in section 101(2) of the Bankruptcy Code. Accordingly, this Court

   is authorized to grant the relief requested herein.

5. In addition, Del. Bankr. L.R. 1015-1 provides, as follows:

   An order of joint administration may be entered, without notice and an
   opportunity for hearing, upon the filing of a motion for joint administration
   pursuant to Fed. R. Bankr. P. 1015, supported by an affidavit, declaration or
   verification, which establishes that the joint administration of two or more cases
   pending in this Court under title 11 is warranted and will ease the administrative
   burden for the Court and the parties. An order of joint administration entered in
   accordance with this Local Rule may be reconsidered upon motion of any party in
   interest at any time. An order of joint administration under this Local Rule is for
   procedural purposes only and shall not cause a "substantive" consolidation of the
   respective debtors' estates.

6. As set forth in the declaration attached hereto as Exhibit B, Imagery Collection

   and Farm Measurement are wholly-owned subsidiaries of TerrAvion. They do

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      not maintain separate bank accounts, and TerrAvion handles all of their payable

      and receivables. Imagery Collection and Farm Measurement have minimal

      creditors and assets and their businesses are closely related to and wholly-

      dependent on TerrAvion.

   7. Joint administration of the Cases will yield costs savings to the Debtors and will

      not prejudice the substantive rights of any party-in-interest. Joint administration

      of the Cases will save the Debtors and their estates substantial time and expense

      because it will remove the need to prepare, replicate, file, and serve duplicative

      notices, application, motions, and orders. Further, joint administration will

      relieve the Court of entering duplicative orders and maintaining duplicative files

      and dockets. The U.S. Trustee and other parties-in-interest also will benefit from

      joint administration of these cases.

   8. Further, joint administration will not adversely affect creditors’ rights as this

      Motion requests only the administrative consolidation, not substantive

      consolidation, of the Debtors’ estate. As such, each creditor will continue to hold

      its claim a particular Debtor’s estate after this Motion is approved.

   9. Pursuant to Del. Bankr. L.R. 1015-1, neither notice of or a hearing on this Motion

      is required.

      Wherefore, the Debtors respectfully request entry of the Order and for such other

   and further relief as the Court deems appropriate.



Dated: September 3, 2020                      Respectfully submitted,

                                              /s/ Tracy Pearson


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